                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE

 NOEL, VONDA, On Behalf of HERSELF                )
 and All Others Similarly Situated,               )
                                                  )
        Plaintiff,                                )       CLASS AND COLLECTIVE
                                                  )       ACTION
 v.                                               )
                                                  )       CASE NO. 3:11-cv-519
 METROPOLITAN GOVERNMENT OF                       )
 NASHVILLE AND DAVIDSON                           )       JUDGE SHARP
 COUNTY, TENNESSEE,                               )       MAGISTRATE JUDGE KNOWLES
                                                  )
        Defendant.                                )
                                                  )
                                                  )

               ORDER GRANTING FINAL APPROVAL OF SETTLEMENT
                 AGREEMENT AND AWARD OF FEES AND EXPENSES

       For the reasons set forth in Plaintiffs’ Unopposed Motion for Final Approval of

Settlement and Class Counsel’s Application for an Award of Attorneys’ Fees and Expenses and

supporting Memorandum of Law, the Declaration and Supplemental Declaration of Class

Counsel David W. Garrison, and the Declaration of Melissa E. Baldwin, the Director of Claims

Administration for the Claims Administrator in this matter, the Court hereby orders the

following:

          1.   The Rule 23 Class Action Settlement Agreement and Release (the “Settlement”)

(Doc. No. 480, Ex. 1) negotiated by the parties is fair, adequate, and reasonable because: (1) the

settlement agreement is the product of arm's length negotiations; (2) while Plaintiff and Class

Counsel believe the class’s position is strong, continued litigation through a second-phase of trial

and appeal would be complex, costly, and long; (3) the parties have engaged in extensive

discovery; (4) Class Counsel and the Class Representative believe settlement is in the best

interest of the class; (6) the reaction of the class has been overwhelmingly positive; and (7) final

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approval of the settlement is in the public interest. Accordingly, Plaintiffs’ Unopposed Motion

for Final Approval of Settlement is GRANTED.

          2.   The Court hereby awards Class Counsel $633,333.33 in attorneys’ fees

representing thirty-three and one-third percent (33.33%) of the Settlement Fund and $84,908.83

in expenses incurred in pursuit of Plaintiff’s Rule 23 claims. The attorneys’ fees and expenses

shall be paid by the Settlement Administrator in accordance with Section 9.4 of the Settlement

Agreement. The Court finds that the amount of fees awarded is fair and reasonable under the

“percentage-of-recovery” method considering, among other things, the highly favorable result

achieved for the Class; the contingent nature of Class Counsel’s representation; Class Counsel’s

diligent prosecution of the Action; the quality of legal services provided by Class Counsel that

produced the Settlement; that the Plaintiff and Court appointed Settlement Class Representative

reviewed and approved the requested fee; the reaction of the Class to the fee request; and the

awarded fee is in accord with Sixth Circuit authority in class actions.

          3.   The Court finds reasonable and approves service awards of $10,000.00 to Named

Plaintiff Vonda Noel; $2,500.00 to Michael Murphy; and $1,000.00 each to DeQuan Adams,

Willie Anderson, Jr., Curtis Barnes, Adam Boyd, Keith Brown, Careese Cannon, Vincent Carr,

Xaviere Cunningham, Geoffrey Hampton, Shaun Hennekam, Michael Hunter, Tonya Lawrence,

LeRonce Mitchell, Micah Nowack, Antoine Smith, Deidre Taylor, Tanisha Wells, Warren Wilke

and Adrean Williams. The service awards shall be paid in accordance with Section 9.1 of the

Settlement Agreement.

          4.   The Metropolitan Government Employee Emergency Support Fund, c/o The

Community Foundation of Middle Tennessee, P.O. Box 440225, Nashville, TN 37244 is hereby

approved as the cy pres recipient of any funds resulting from uncashed settlement checks.



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          5.   Without affecting the finality of this Order and Final Judgment in any way, the

Court retains continuing jurisdiction over this Action for the purpose of enforcing the Settlement.

          6.   In the event that the Settlement does not become effective in accordance with the

terms of the Settlement Agreement, then this Order and Final Judgment shall be rendered null

and void to the extent provided by and in accordance with the Settlement Agreement and shall be

vacated, and, in such event, all orders entered and releases delivered in connection herewith shall

be null and void to the extent provided for and in accordance with the Settlement Agreement.

          7.   This action is hereby DISMISSED, WITH PREJUDICE, in accordance with the

Settlement Agreement.


        September 12, 2016
DATED: ________________________              ________________________________________
                                             KEVIN SHARP
                                             UNITED STATES DISTRICT JUDGE




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